                     IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

In re:                                             :         Chapter 13
                                                   :
         KATHLEEN THERESA PINTABONE                :         Case No. 19-13450-pmm
                       Debtor                      :


                      ORDER GRANTING MOTION TO MODIFY PLAN

         AND NOW upon consideration of the Debtor’s Motion to Modify the confirmed Chapter

13 Plan (doc. #114, the “Motion”);

         It is hereby ordered that

         1.)    The motion is granted; and

         2.)    The Modified Plan (doc. #113) is approved.



Date: 10/27/22
                                                   PATRICIA M. MAYER
                                                   U.S. BANKRUPTCY JUDGE
